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                                                     1 of 3



                                                EXHIBIT A

                                      HERALD HOTEL ASSOCIATES, L.P.

                 LIST OF TWENTY (20) LARGEST UNSECURED CREDITORS




{Client/003674/11/02172712.DOCX;1 }
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                                                                                   2 of 3

 Fill in this information to identify the case:
 Debtor name Herald Hotel Associates, L.P.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                 Check if this is an
                                                YORK
 Case number (if known):         20-12266                                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Seasons Affiliates   Jessica Sillins                            Rent Underground Unliquidated                                                                        $1,559,194.92
 LLC                                                             Lease            Disputed
 224 West 49th Street jsillins@gmail.com
 Room 411
 New York, NY 10019
 Lodging                                                         Trade                                                                                                    $59,050.00
 Solutions,LLC
 265 Broadhollow
 Road
 Melville, NY 11747
 Design                                                          Trade                                                                                                    $51,935.45
 Communications,
 Inc
 6880 Perry Creek
 Road
 Raleigh, NC 27624
 Tristate Safety                                                 Trade                                                                                                    $33,300.00
 18-23 41st Street
 Astoria, NY 11105
 ConEdison                                                       Utilities                                                                                                $25,492.12
 P.O. BOX 1701
 New York, NY 10116
 C&S Marble &                                                    Trade                                                                                                    $23,539.39
 Granite Importer
 118 Gaza Blvd.
 Farmingdale, NY
 11735
 Seasoned                                                        Trade                                                                                                    $20,000.00
 Management, LLC
 90 West Street
 New York, NY 10006
 Constellation                                                   Utilities                                                                                                $15,403.88
 Energy Service
 P.O. Box 4640
 Carol Stream, IL
 60197



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                    20-12266-scc                Doc 4-1              Filed 09/22/20 Entered 09/22/20 21:26:03                                   Exhibit A            Pg
                                                                                   3 of 3


 Debtor    Herald Hotel Associates, L.P.                                                                      Case number (if known)         20-12266
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Pronto Gas Heating                                              Trade                                                                                                    $14,207.82
 Supply Co.
 181 Chrrystie Street
 New York, NY 10002
 AAA-Mail Stop 2                                                 Trade                                                                                                    $13,919.80
 1000 AAA Drive
 Lake Mary, FL
 32746-5063
 PATEC                                                           Utilities                                                                                                  $6,650.69
 Communications
 Inc.
 P.O. Box 9001013
 Louisville, KY 40290
 Triborough                                                      Trade                                                                                                      $5,715.93
 Scaffolding & Hoist
 35-06 Farrington
 Street
 Flushing, NY 11354
 Hilton                                                          Franchise                                                                                                  $2,544.81
 4649 Paysphere                                                  Agreement
 Circle
 Chicago, IL 60674
 Direct Energy                                                   Utilities                                                                                                  $2,157.04
 P.O. Box 32179
 New York, NY 10087
 Consolidated                                                    Utilities                                                                                                  $2,075.53
 Edison Co of NY
 P. O. BOX 1702
 New York, NY 10016
 A&L CESSPOOL                                                    Trade                                                                                                      $1,551.47
 SERVICE CORP
 38-40 Review Street
 Long Island City, NY
 11101
 Muzak LLC                                                       Trade                                                                                                        $825.48
 P.O. Box 71070
 Charlotte, NC 28272
 Fire Code Services                                              Trade                                                                                                        $212.31
 121 Newark Ave
 Jersey City, NJ
 07302
 Columbia                                                        Trade                                                                                                          $92.54
 48 W. 37th Street
 New York, NY 10018
 Admore Hardware &                                               Trade                                                                                                          $34.28
 Lock Co Inc.
 11 East 33rd Street
 New York, NY 10016




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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